Case 1:21-cv-00417-MN     Document 25-5      Filed 06/08/21    Page 1 of 57 PageID #: 3446




                           EXHIBIT E (FILED UNDER SEAL)

                        May 19, 2021 Alexander Deposition Transcript
Case 1:21-cv-00417-MN   Document 25-5   Filed 06/08/21   Page 2 of 57 PageID #: 3447
Case 1:21-cv-00417-MN   Document 25-5   Filed 06/08/21   Page 3 of 57 PageID #: 3448
Case 1:21-cv-00417-MN   Document 25-5   Filed 06/08/21   Page 4 of 57 PageID #: 3449
Case 1:21-cv-00417-MN   Document 25-5   Filed 06/08/21   Page 5 of 57 PageID #: 3450
Case 1:21-cv-00417-MN   Document 25-5   Filed 06/08/21   Page 6 of 57 PageID #: 3451
Case 1:21-cv-00417-MN   Document 25-5   Filed 06/08/21   Page 7 of 57 PageID #: 3452
Case 1:21-cv-00417-MN   Document 25-5   Filed 06/08/21   Page 8 of 57 PageID #: 3453
Case 1:21-cv-00417-MN   Document 25-5   Filed 06/08/21   Page 9 of 57 PageID #: 3454
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 10 of 57 PageID #:
                                    3455
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 11 of 57 PageID #:
                                    3456
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 12 of 57 PageID #:
                                    3457
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 13 of 57 PageID #:
                                    3458
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 14 of 57 PageID #:
                                    3459
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 15 of 57 PageID #:
                                    3460
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 16 of 57 PageID #:
                                    3461
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 17 of 57 PageID #:
                                    3462
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 18 of 57 PageID #:
                                    3463
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 19 of 57 PageID #:
                                    3464
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 20 of 57 PageID #:
                                    3465
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 21 of 57 PageID #:
                                    3466
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 22 of 57 PageID #:
                                    3467
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 23 of 57 PageID #:
                                    3468
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 24 of 57 PageID #:
                                    3469
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 25 of 57 PageID #:
                                    3470
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 26 of 57 PageID #:
                                    3471
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 27 of 57 PageID #:
                                    3472
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 28 of 57 PageID #:
                                    3473
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 29 of 57 PageID #:
                                    3474
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 30 of 57 PageID #:
                                    3475
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 31 of 57 PageID #:
                                    3476
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 32 of 57 PageID #:
                                    3477
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 33 of 57 PageID #:
                                    3478
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 34 of 57 PageID #:
                                    3479
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 35 of 57 PageID #:
                                    3480
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 36 of 57 PageID #:
                                    3481
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 37 of 57 PageID #:
                                    3482
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 38 of 57 PageID #:
                                    3483
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 39 of 57 PageID #:
                                    3484
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 40 of 57 PageID #:
                                    3485
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 41 of 57 PageID #:
                                    3486
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 42 of 57 PageID #:
                                    3487
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 43 of 57 PageID #:
                                    3488
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 44 of 57 PageID #:
                                    3489
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 45 of 57 PageID #:
                                    3490
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 46 of 57 PageID #:
                                    3491
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 47 of 57 PageID #:
                                    3492
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 48 of 57 PageID #:
                                    3493
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 49 of 57 PageID #:
                                    3494
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 50 of 57 PageID #:
                                    3495
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 51 of 57 PageID #:
                                    3496
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 52 of 57 PageID #:
                                    3497
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 53 of 57 PageID #:
                                    3498
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 54 of 57 PageID #:
                                    3499
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 55 of 57 PageID #:
                                    3500
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 56 of 57 PageID #:
                                    3501
Case 1:21-cv-00417-MN   Document 25-5 Filed 06/08/21   Page 57 of 57 PageID #:
                                    3502
